              Case 6:22-cv-00700-ADA Document 5 Filed 06/29/22 Page 1 of 1




                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                      WACO DIVISION


DIATEK LICENSING LLC,

                  Plaintiff,
                                                                CIVIL ACTION
         v.
                                                                NO. 6:22-cv-700
HC2 BROADCASTING HOLDINGS INC.,

                  Defendant.                                  Jury Trial Demanded



                               NOTICE OF FILING OF IPR PETITION

        Plaintiff notifies the Court that an IPR petition has been filed on one patent asserted in

this case. The expected time for an institution decision and for a final written decision, if

instituted, is set forth in the table below.

        IPR No.                  Patent involved      Expected date of        Expected date of final
                                                     institution decision        written decision
                                                                                  (if instituted)
 IPR2022-00638                 7,079,752            9/24/2022                 9/24/2023


        This 29th day of June, 2022.

                                                    /s/ Cortney S. Alexander
                                                    Cortney S. Alexander
                                                      cortneyalexander@kentrisley.com
                                                      Tel: (404) 855-3867
                                                      Fax: (770) 462-3299
                                                    KENT & RISLEY LLC
                                                    5755 N Point Pkwy Ste 57
                                                    Alpharetta, GA 30022

                                                    Attorneys for Plaintiff
